CASE 0:18-cv-01776-JRT-JFD Doc. 1442-43 Filed 08/24/22 Page 1 of 6




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     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-43 Filed 08/24/22 Page 2 of 6
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                                                                       Page 1

1                  IN THE UNITED STATES DISTRICT COURT
2                              DISTRICT OF MINNESOTA
3
4    CIVIL NO. 18-1776 (JRT/HB)
5    0:21-MD-02998-JRT-HB
6    MDL NO. 2998
7
8    IN RE:       PORK ANTITRUST LITIGATION
9    This Document Relates to:                     All Actions
10
11
12
13                               HIGHLY CONFIDENTIAL
14                        REMOTE VIDEO DEPOSITION OF
15                            KENNETH M. GRANNAS, JR.
16                                 December 17, 2021
17
18
19
20
21
22   REPORTED BY:              Laura H. Nichols
23                             Certified Realtime Reporter,
24                             Registered Professional
25                             Reporter and Notary Public

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     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-43 Filed 08/24/22 Page 3 of 6
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                                                                     Page 54

1               Q.        (BY MR. SHIFTAN:)            Does Triumph do
2    any direct sales?
3               A.        Not that I am aware of.
4               Q.        Do you have any sense as to how
5    revenues are split between Seaboard and Triumph for
6    pork that is produced by Triumph?
7                         MR. SMITH:        Object to form,
8    foundation.
9                         MR. THOMSON:          Objection.
10              A.        Not specific.
11              Q.        (BY MR. SHIFTAN:)            What general sense
12   do you have?
13              A.        Basic fifty-fifty.
14              Q.        Do you have a sense as to which
15   employees at Triumph would be good people to talk
16   to about the particulars of the marketing agreement
17   between Seaboard and Triumph?
18                        MR. SMITH:        Object to form,
19   foundation.
20              A.        Upper executive is all I could say
21   there.     I don't know who in particular.
22              Q.        (BY MR. SHIFTAN:)            Does Triumph
23   export meat?
24                        MR. SMITH:        Object to the form,
25   foundation.

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     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-43 Filed 08/24/22 Page 4 of 6
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                                                                     Page 55

1               A.        Triumph's meat is exported.
2               Q.        (BY MR. SHIFTAN:)            And do you have
3    any responsibilities pertaining to exports?
4               A.        I don't understand the question.
5               Q.        In your day-to-day job at Triumph, do
6    you conduct any analysis pertaining to meat that is
7    exported?
8                         MR. SMITH:        Object to form.
9               A.        Just the volume of production.
10              Q.        (BY MR. SHIFTAN:)            Okay.      Does
11   Triumph have any particular business plan
12   pertaining to exports that you are aware of?
13              A.        No.
14                        MR. SMITH:        Objection, form.
15              Q.        (BY MR. SHIFTAN:)            Not that you are
16   aware of?
17              A.        Not that I am aware of.
18              Q.        Are you general -- are you privy to
19   business plans pertaining to how much meat to
20   export versus sell domestically?
21              A.        No.
22              Q.        What types of pork cuts does Triumph
23   export?
24                        MR. SMITH:        Object to form,
25   foundation, assumes facts not in evidence and

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     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-43 Filed 08/24/22 Page 5 of 6
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                                                                     Page 56

1    mischaracterizes testimony.
2               A.        The majority volume are non --
3    nondesirable domestic cuts.
4               Q.        (BY MR. SHIFTAN:)            Can you give me a
5    few examples?
6               A.        Snouts, ears, cheek meat, things like
7    that.
8               Q.        Does Triumph export any of the
9    desirable cuts?
10                        MR. SMITH:        Object to form.
11              A.        Yes.
12              Q.        (BY MR. SHIFTAN:)            Which ones?
13              A.        That I know of, loin and trim.
14                        THE REPORTER:          Did you say trim?
15              A.        Trim, yes.
16              Q.        (BY MR. SHIFTAN:)            Do you have a
17   sense as to who the biggest clients are for
18   exported Triumph pork?
19                        MR. SMITH:        Object to form,
20   foundation.
21              A.        No.
22                        MR. SHIFTAN:          I would like to mark
23   the next document, which is Tab U, Bates Number
24   ending in -- it is a Triumph Bates Number ending in
25   457477.     And this will be marked as Exhibit

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     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-43 Filed 08/24/22 Page 6 of 6
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                                                                     Page 57

1    Number --
2                         THE REPORTER:          169.
3                         MR. SHIFTAN:          -- 169.
4                         (Exhibit 169 was marked for
5                         identification.)
6               Q.        (BY MR. SHIFTAN:)             Do you have
7    Exhibit 169 in front of you?
8                         MR. SMITH:        No, he doesn't.           Give me
9    a second.       These were packaged in two different
10   redwells, so I have to open up each set twice.
11                        MR. SHIFTAN:          Take your time.
12                        MR. SMITH:        I'm sorry.         Did you say
13   the Bates Number was 457477?
14                        MR. SHIFTAN:          That's correct.
15                        MR. SMITH:        There you go.
16              A.        Yes, I have it.
17              Q.        (BY MR. SHIFTAN:)             Why don't you just
18   take a moment to review it and look up when you
19   have had a chance to.
20                        (Pause.)
21              A.        Okay.
22              Q.        (BY MR. SHIFTAN:)             Do you recognize
23   this document?
24              A.        I recognize it, but I don't recall
25   it.

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